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                              COMMONWEALTH LAND TITLE
                          6   INSURANCE COMPANY
                          7

                          8                      UNITED STATES BANKRUPTCY COURT
                          9                        CENTRAL DISTRICT OF CALIFORNIA
                     10

                     11        In Re:                                        CASE NO. 6:19-bk-12074-SC
                     12                                                      Chapter 7
                               JASON ORTIZ and BRIANNA ORTIZ,
                     13                                                      Adversary No.: 6:19-ap-01091 SC
                     14                                   Debtors
                                                                             MOTION IN LIMINE TO EXCLUDE
                     15                                                      BANK STATEMENT OF ARTHUR
                     16        COMMONWEALTH LAND TITLE                       MEISNER FROM BANK OF THE
                               INSURANCE COMPANY,                            WEST
                     17
                                             Plaintiff,
                     18                                                      Date: March 29, 2021
                                        v.                                   Time 9:30 a.m.
                     19                                                      Courtroom: 126-Virtual
                               JASON ORTIZ, BRIANNA ORTIZ
                     20
                                             Debtors.
                     21

                     22

                     23
                                    Plaintiff, Commonwealth Land Title Insurance Company, (hereafter
                     24
                              “Plaintiff”) files its Motion in Limine as to the exclusion of the bank records of
                     25
                              Arthur Meisner from Bank of the West on the following grounds:
                     26
                              ///
                     27
                              ///
                     28
 915 WIL S HI RE B LVD.
       SU ITE 2100
                                                                         1
LO S A NGE LE S, CA 90017
                                                            MOTION IN LIMINE BY PLAINTIFF
                     Case 6:19-ap-01091-SC         Doc 48 Filed 03/19/21 Entered 03/19/21 16:48:47        Desc
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                          1          I.     INTRODUCTION
                          2

                          3         The Debtors, Jason and Briana Ortiz, (hereafter “Debtors”) request that the
                          4   Court exclude this Order from the Probate Court on the grounds that this Court may
                          5   not take judicial notice of the facts set forth therein.
                          6         The Debtors intend on introducing the bank records of Arthur Meisner from
                          7   Bank of The West at trial. These records were subpoenaed by the Debtors, but are
                          8   not certified by the Bank. The response to the subpoena from the Bank were not
                          9   accompanied by any type of declaration form the Bank. Since these are the records
                     10       of Meisner, the Debtors lack the knowledge to testify as to their authenticity and
                     11       admissibility.
                     12             Plaintiff argue that these records constitute hearsay under the applicable
                     13       federal evidence statues. The business records exception to hearsay is set forth in
                     14       Fed.R. Evid. 803 (b) and provides that ta document is excepted from the rule
                     15       against hearsay if it is a “record of an act, event, condition, opinion or diagnosis”
                     16       and if:
                     17
                                     (A)   The record was made at or near the time by or from information

                     18                    transmitted by-someone with knowledge:
                     19
                                    (B)    The record was kept in the course of a regularly conducted activity of a
                     20

                     21                    business, organization, occupation or calling, whether or not for profit;

                     22             (C)    Making the record was a regular practice of that activity;
                     23
                                    (D)    All these conditions are shown by the testimony of the custodian or
                     24

                     25                    another qualified witness or by certification that complies with Rule

                     26                    902 (11) or (12) or with a statute permitting certification;
                     27

                     28
 915 WIL S HI RE B LVD.                                                     2
       SU ITE 2100
LO S A NGE LE S, CA 90017
                                                             MOTION IN LIMINE BY PLAINTIFF
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                          1
                                 (E)      The opponent does not how that the source of information or method of

                          2               circumstances of preparation indicate a lack of trustworthiness.
                          3
                                          In re: Hams 603 B.R.19 (9th Cir. 2019)
                          4

                          5            Only a knowledgeable witness can satisfy the exception. The foundation
                          6   witness needs to know enough to say that the record was prepared in the ordinary
                          7   course of business in the manner contemplated by the exception. Thus, he needs
                          8   first hand knowledge about the normal processes of the business.
                          9            Plaintiff argues that in the absence of a witness from the bank to authenticate
                     10       these business records in accordance of the business record exception, these records
                     11       must be excluded because they constitute hearsay.
                     12

                     13                                                Respectfully submitted,
                     14
                              Dated: March 19, 2021                     FIDELITY NATIONAL LAW GROUP
                     15

                     16
                                                                       ________________________________
                     17                                                Karen A. Ragland
                     18                                                ATTORNEYS FOR PLAINTIFF,
                                                                       COMMONWEALTH LAND TITLE
                     19                                                INSURANCE COMPANY
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 915 WIL S HI RE B LVD.                                                     3
       SU ITE 2100
LO S A NGE LE S, CA 90017
                                                              MOTION IN LIMINE BY PLAINTIFF
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
915 WILSHIRE BLVD., STE. 2100, LOS ANGELES, CA 90017


A true and correct copy of the foregoing document entitled (specify):

MOTION IN LIMINE TO EXCLUDE BANK STATEMENT OF ARTHUR MEISNER FROM BANK OF THE
WEST

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
   3/19/2021
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
Bilal Essayli, Essayli & Brown LLP @ bessayli@essaylibrown.com, ATTORNEYS FOR
DEFENDANTS;
Steven M Speier (TR) @ lmorvant@sspeier.net;
United States Trustee (RS) @ ustpregion16.rs.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   3/19/2021
                                LINDA BECK                                                      /s/ Linda Beck
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
